Case 4:22-mc-10086-KMM Document 1 Entered on FLSD Docket 10/03/2022 Page 1 of 23




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF FLORIDA

             Case Pending in the U.S. District Court for the District of Columbia:
           U.S. Dominion, Inc. et al., v. My Pillow, Inc., et al., 1:21-cv-00445 (CJN)

   IN RE:    SUBPOENA SERVED ON Civil Action No. __________________
   MONROE COUNTY, FL SUPERVISOR OF
   ELECTIONS



                     MOTION TO QUASH RULE 45 SUBPOENA
                   AND INCORPORATED MEMORANDUM OF LAW




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Case 4:22-mc-10086-KMM Document 1 Entered on FLSD Docket 10/03/2022 Page 2 of 23




                                                          Table of Contents,




  INTRODUCTION .......................................................................................................................... 1
  BACKGROUND FACTS ............................................................................................................... 2
  LEGAL STANDARD ..................................................................................................................... 3
  ARGUMENT .................................................................................................................................. 5
     I.    DEFENDANTS’ SUBPOENA REPRESENTS A GRAVE INTRUSION INTO
           THE CYBERSECURITY OF A LOCAL JURISDICTION’S ELECTION
           VOTING SYSTEM. ............................................................................................................. 5
     II. THE SUBPOENA SHOULD BE QUASHED BECAUSE IT CALLS FOR
         DISCOVERY OF CONFIDENTIAL AND PROPRIETARY INFORMATION,
         WHICH THE
         SUPERVISOR OF ELECTIONS IS OBLIGATED TO KEEP PRIVATE
         PER THE TERMS OF THE AGREEMENT BETWEEN MONROE COUNTY
         AND DOMINION. ............................................................................................................ 10
     III. THE SUBPOENA MUST BE QUASHED BECAUSE IT IS UNDULY
          BURDENSOME, BOTH IN THE ABSOLUTE AND PARTICULARLY
          AS APPLIED TO A LOCAL JURISDICTION LESS THAN SEVEN WEEKS
          AWAY FROM A MIDTERM ELECTION. ...................................................................... 12
     IV. IN THE ALTERNATIVE, A PROTECTIVE ORDER SHOULD BE ISSUED TO
         ALLOW FOR PRODUCTION OF REPORTS SOUGHT IN REQUESTS 4(A)-
         (B), 7 AND 8, AFTER THE ELECTION. ......................................................................... 15
  CONCLUSION ............................................................................................................................. 16
  CERTIFICATE OF GOOD FAITH COMPLIANCE WITH LOCAL RULE 7.1 ....................... 17




                                                                       iii
Case 4:22-mc-10086-KMM Document 1 Entered on FLSD Docket 10/03/2022 Page 3 of 23




                                                          Table of Authorities

  Cases
  Am. Elec. Power Co., Inc. v. United States, 191 F.R.D. 132, 136 (S.D. Ohio 1999) ............. 12, 15
  Benedict v. McMahon, 325 F.R.D. 447, 452 (E.D. Pa. 2016)....................................................... 11
  Bhatt v. Lalit Patel Physician P.C., No. 18-cv-2063, 2020 WL 13048694,
    at *2 (E.D. N.Y. 2020) .............................................................................................................. 10
  Curling v. Raffensperger, 493 F. Supp. 1264, 1279 (N.D. Ga. 2020) .......................................... 12
  Fadalla v. Life Automotive Prod., 258 F.R.D. 501 (M.D. Fla. 2007) ........................................... 14
  First Sealord Sur. v. Durkin & Debries Ins. Agency, 918 F. Supp. 2d 362, 382 (E.D. Pa. 2013) . 3
  Haggard v. Spine, 2009 WL 1655030, at *7 (D. Colo. 2009). ..................................................... 11
  In re. Domestic Drywall Antitrust Litig., 300 F.R.D. 234, 239 (E.D. Pa. 2014) ............................ 4
  Jennings v. Elections Canvassing Comm’n, 958 So. 2d 1083 (Fla. 1st DCA 2007) ..................... 12
  Jordan v. Commissioner, Miss. Dep’t of Corrections, 947 F.3d 1322, 1336 (11th Cir. 2020) ..... 10
  Klay v. All Defendants, 425 F.3d 977, 982 (11th Cir. 2005) ........................................................... 3
  Ortiz-Carballo v. Ellspermann, No. No. 5:08–cv–165–Oc–10GRJ, 2009 WL 961131,
    at *1 (M.D. Fla. 2009) ................................................................................................................. 4
  Premier Election Solutions, Inc. v. Systest Labs, Inc., No. 09-cv-01822-WDM-KMT ............... 11
  Premier Election Solutions, Inc., 2009 WL 3075597, at 7 ........................................................... 12
  United States v. Lacey, No. CR-18-00422, PHX-SMB, 2020 WL 85121,
   at n. 14 (D. Ariz. Jan. 7, 2020) (slip. op.).................................................................................... 3
  United Technologies Corp. v. Mazer, No. 05-80980-CIV, 2007 WL 788877,
   at *1 (S.D. Fla. Mar. 14, 2007). ................................................................................................ 12
  Williams v. City of Dallas, 178 F.R.D. 103, 109 (N.D. Tex. 1998). ............................................. 15
  Wiwa v. Royal Dutch Petroleum Co., 392 F.3d 812, 818 (5th Cir. 2004) ..................................... 14
  Wiwa, 392 F.3d at 818 .................................................................................................................. 15
  Statutes
  6 U.S.C. §§ 1501-1510 ................................................................................................................... 8
  Fed. R. Civ. P. 45(d)(3)(A)(iii). .................................................................................................... 10
  Fla. Stat. § 101.45 ......................................................................................................................... 17
  Fla. Stat. § 101.5605 ..................................................................................................................... 17
  Fla. Stat. § 101.5605(3)(e) ............................................................................................................ 18


                                                                        iv
Case 4:22-mc-10086-KMM Document 1 Entered on FLSD Docket 10/03/2022 Page 4 of 23




  Fla. Stat. § 101.5607(1)(a) ............................................................................................................ 10
  Fla. Stat. § 101.5610 ..................................................................................................................... 17
  Fla. Stat. § 101.5612 ..................................................................................................................... 17
  Fla. Stat. § 119.071(1)(f)............................................................................................................... 10
  Fla. Stat. § 119.0725 ................................................................................................................. 9, 10
  Fla. Stat. § 119.0825(1)(b) (2022) .................................................................................................. 9
  Fla. Stat. § 812.081(1)(f)............................................................................................................... 13
  Fla. Stat. § 97.021(47)..................................................................................................................... 2
  Other Authorities
  Cybersec. & Infrastructure Sec. Agency, Critical Infrastructure Cyber Risk Assessment (July 28,
    2020), available at: www.cisa.gov › files › cisa-election-infrastructure-cyber-risk-assessment 5
  Florida Dep’t of State, Joint Statement from the Florida Secretary of State and Florida
    Supervisors of Elections in Response to the June 3, 2022 Cybersecurity and Infrastructure
    Security Agency Advisory (June 3, 2022) .................................................................................... 7
  Florida Division of Elections, Election Dates and Activities Calendar 2022-2023, available at:
    https://dos.myflorida.com/elections/for-voters/election-dates/ and
    https://dos.myflorida.com/elections/forms-publications/publications/. .................................... 17
  Jeh Johnson, Secretary, Department of Homeland Security, Statement by Secretary Jeh Johnson
    on the Designation of Election Infrastructure as a Critical Infrastructure Subsector (Jan. 6,
    2017), available at: https://www.dhs.gov/news/2017/01/06/statement-secretary-johnson-
    designation-election-infrastructure-critical ................................................................................. 6
  Richard L. Hasen, Identifying and Minimizing the Risk of Election Subversion and Stolen
    Elections in the Contemporary United States, 135 Harv. L. Rev. F. 265, 280 (2022) ............... 8
  Rules
  Fed. R. Civ. P. 26(b)(1)................................................................................................................... 4
  Fed. R. Civ. P. 45(d)(3)(A)(iv) ..................................................................................................... 14
  Fed. R. Civ. P. 45(d)(3)(B)(i) ....................................................................................................... 11




                                                                        v
Case 4:22-mc-10086-KMM Document 1 Entered on FLSD Docket 10/03/2022 Page 5 of 23




                                        Exhibit List

   A            Subpoena to Produce Documents, Information, or Objects or to Permit
                Inspection of Premises in a Civil Action

   B            Voting System Agreement by and between Dominion Voting Systems, Inc.
                and Monroe County, Florida

   C            Affidavit of Hon. R. Joyce Griffin, Supervisor of Elections for Monroe
                County, Florida

   D            Affidavit of Mark Earley

   E            Florida Division of Elections, Elections Dates and Activities Calendar 2022-
                2023.




                                             vi
Case 4:22-mc-10086-KMM Document 1 Entered on FLSD Docket 10/03/2022 Page 6 of 23




         Pursuant to Rule 45(d)(3) and Rule 26 of the Federal Rules of Civil Procedure, through

  undersigned counsel, the Honorable R. Joyce Griffin, Supervisor of Elections for Monroe

  County, Florida (“SOE”), a Non-Party, hereby respectfully moves to quash the Subpoena To

  Produce Documents, Information, or Objects or To Permit Inspection of Premises in Civil Action

  (“Subpoena”) issued in the case of U.S. Dominion, Inc. et al. v. My Pillow, Inc. et al., 1:21-cv-

  00445 (CJN), served by Defendants My Pillow, Inc. and Michael J. Lindell (collectively,

  “Defendants”), or in the alternative, moves for issuance of a protective order, on the grounds

  stated herein.

                                         INTRODUCTION

         SOE moves to quash the Rule 45 Subpoena on three grounds. First, the forensic images

  and documentation sought regarding her election voting system constitutes a threat to the

  cybersecurity of the system. Second, many of the documents required by the Subpoena are

  confidential and proprietary trade secrets and should therefore be protected from discovery.

  Third, the amount of work necessary to produce images and documents, the sheer volume of

  documents requested, and the fact of a midterm election to be held in November 2022 together

  with all actions leading up to the election, when put together, make timely compliance

  impossible. In short, the Defendants’ subpoena seeks to compel the SOE to divert her limited

  resources away from administering the fast-approaching mid-term election in order to hand over

  the veritable “keys to the kingdom”1 of her voting system in a manner that would render that

  system vulnerable to cyber-attacks during that very same mid-term election.




  1
   King James Bible, Matthew 16:19; see also https://securityintelligence.com/protect-the-keys-to-
  your-kingdom-with-privileged-access-management/.
                                                   1
Case 4:22-mc-10086-KMM Document 1 Entered on FLSD Docket 10/03/2022 Page 7 of 23




                                      BACKGROUND FACTS

         On February 2, 2021, Plaintiffs US Dominion, Inc., Dominion Voting Systems Inc., and

  Dominion Voting Systems Corporation (“Plaintiffs”) filed a lawsuit alleging defamation and

  unfair and deceptive trade practices against Defendants My Pillow, Inc. and Michael J. Lindell

  (“Defendants”) over statements made by Mr. Lindell during and after the 2020 election. The

  Complaint was filed in the U.S. District Court for the District of Columbia, Case No. 1:21-cv-

  00445-CJN. See Compl. ¶¶ 163-172 and 173-178 [ECF 1]. Jurisdiction is based on diversity.

  See Compl. ¶ 11 [ECF 1].

         On September 7, 2022, a Subpoena issued by Defendants in the District Court for the

  District of Columbia was served on the Supervisor of Elections for Monroe County (“SOE”), a

  copy of which is attached hereto as Exhibit A. (Affidavit of R. Joyce Griffin (“Aff. Griffin”),

  ¶ 3.) The Subpoena calls for twenty-two categories of documents regarding the Dominion

  voting system2 used by Monroe County during the 2020 election, and to permit inspection,

  copying, testing, or sampling of the materials, at the offices of the SOE in Key West, Florida, on

  September 30, 2022. SOE served timely objections on Defendants on September 20, 2022 in

  compliance with Rule 45(d)(2)(B).

         The documents fall generally into three categories. First, the Subpoena seeks a complete

  look into the County’s voting system as it existed during the November 2020 election, including

  forensic images of any of the drives used by Monroe County in the November 2020 election for

  any of the hardware components of the system, including tabulators, scanners, computers,




  2
     The term “voting system” is defined in Section 97.021, Florida Statutes, to mean “a method of
  casting and processing votes” and includes the programs, operating manuals, supplies, printouts,
  and other software necessary for the system’s operation. Fla. Stat. § 97.021(47).
                                                  2
Case 4:22-mc-10086-KMM Document 1 Entered on FLSD Docket 10/03/2022 Page 8 of 23




  printers, SD cards, USB drives, and other storage devices, all in EnCase format,3 a complete

  diagram of the County’s system showing all the computers that run it and any component parts

  of the Dominion voting system connected to it, virtual “addresses” (media access control (MAC)

  addresses) for each piece of hardware, and “credentials” (user names and passwords) necessary

  to read all documents produced. Second, the Subpoena seeks the name of any person who had

  “access” to any part of the system at any time during a 22-month time period. Third, the

  Subpoena seeks documents created regarding the 2020 election, including not only poll closing

  reports, the contract with Dominion, and the certified election results, but also “any document,

  report, or spreadsheet that was produced in relation to the November 2020 election.”

                                       LEGAL STANDARD

         Federal Rule of Civil Procedure 45 governs the manner in which parties may obtain

  evidence by subpoena. Klay v. All Defendants, 425 F.3d 977, 982 (11th Cir. 2005). Rule 45 is

  intended to prevent abuse of the subpoena power and requires that a district court protect the

  property rights of the person subject to the subpoena. Id. “A subpoena under Rule 45 must fall

  within the scope of proper discovery under Rule 26(b)(1).” First Sealord Sur. v. Durkin &

  Debries Ins. Agency, 918 F. Supp. 2d 362, 382 (E.D. Pa. 2013) (citation and internal quotation

  marks omitted). Pursuant to that Rule, “parties may obtain discovery regarding any non-

  privileged matter if the information sought ‘is relevant to any party’s claim or defense.’” Ortiz-

  Carballo v. Ellspermann, No. No. 5:08–cv–165–Oc–10GRJ, 2009 WL 961131, at 1 (M.D. Fla.

  2009) (citing Fed. R. Civ. P. 26(b)(1)). Information is relevant only if the discovery sought is

  “reasonably calculated to lead to the discovery of admissible evidence.” Id.




  3
   EnCase is apparently a forensic copy format. See United States v. Lacey, No. CR-18-00422,
  PHX-SMB, 2020 WL 85121, at n. 14 (D. Ariz. Jan. 7, 2020) (slip. op.).
                                                   3
Case 4:22-mc-10086-KMM Document 1 Entered on FLSD Docket 10/03/2022 Page 9 of 23




         “The serve-and-volley of the federal discovery rules govern the resolution of a motion to

  quash.” In re. Domestic Drywall Antitrust Litig., 300 F.R.D. 234, 239 (E.D. Pa. 2014). The

  party making the requests must first show that its requests are relevant within the meaning of

  Rule 26(b)(1). Id. The burden then shifts to the nonparty to show that disclosure of the

  information is protected under either Rule 45(d)(3)(A) or (B). Id. If the nonparty claims

  protection either under Rule 45(d)(3)(B) or asserts an undue burden under Rule 45(d)(3)(A), the

  nonparty must show a “clearly defined and serious injury.” Id. If the nonparty meets its burden,

  the Court conducts a balancing test by weighing the requesting party’s interest against the

  nonparty’s interest to determine whether the burden is undue. Id.




                                                  4
Case 4:22-mc-10086-KMM Document 1 Entered on FLSD Docket 10/03/2022 Page 10 of 23




                                              ARGUMENT

   I.     DEFENDANTS’ SUBPOENA REPRESENTS A GRAVE INTRUSION INTO THE
          CYBERSECURITY OF A LOCAL JURISDICTION’S ELECTION VOTING
          SYSTEM.

          The federal Cybersecurity & Infrastructure Security Agency, created in 2018 to address

   cybersecurity attacks, has stated that “[c]yber attacks on the integrity of state-level voter

   registration, pollbooks, and election websites, as well as on the preparation of ballots, voting

   machines, and tabulation systems, have the potential for greatest functional impact to the

   ability of jurisdictions to conduct elections, . . ..” Cybersec. & Infrastructure Sec. Agency,

   Critical Infrastructure Cyber Risk Assessment (July 28, 2020) (emphasis added), available at:

   www.cisa.gov › files › cisa-election-infrastructure-cyber-risk-assessment. In a Statement issued

   on January 6, 2017, the Secretary of Homeland Security said:

                 I have determined that election infrastructure in this country should be
          designated as a subsector of the existing Government Facilities critical
          infrastructure sector. Given the vital role elections play in this country, it is
          clear that certain systems and assets of election infrastructure meet the
          definition of critical infrastructure, in fact and in law.

                  I have reached this determination so that election infrastructure will, on
          a more formal and enduring basis, be a priority for cybersecurity assistance and
          protections that the Department of Homeland Security provides to a range of
          private and public sector entities. By “election infrastructure,” we mean storage
          facilities, polling places, and centralized vote tabulations locations used to
          support the election process, and information and communications technology
          to include voter registration databases, voting machines, and other systems to
          manage the election process and report and display results on behalf of state
          and local governments.

   Jeh Johnson, Secretary, Department of Homeland Security, Statement by Secretary Jeh Johnson

   on the Designation of Election Infrastructure as a Critical Infrastructure Subsector (Jan. 6,

   2017), available at: https://www.dhs.gov/news/2017/01/06/statement-secretary-johnson-

   designation-election-infrastructure-critical.



                                                     5
Case 4:22-mc-10086-KMM Document 1 Entered on FLSD Docket 10/03/2022 Page 11 of 23




          The Florida Division of Elections, the Florida agency in charge of election security, also

   regards cybersecurity as of utmost importance. On June 3, 2022, the Florida Secretary of State

   and the Florida Supervisors of Elections issued a joint statement (“Florida Remains the Gold

   Standard for Election Administration”):


                  Florida election law requires the use of paper ballots, robust
          certification standards for all voting systems, strict security procedures
          that are reviewed and updated before each election cycle, pre- and post-
          election public testing of the voting equipment used, comprehensive chain
          of custody procedures, background checks on all employees and rigorous
          post-election audits.      Our protocols provide strong preemptive
          safeguards to prevent any unauthorized person from having unfettered
          physical access with passwords and access control mechanisms to our
          systems.

                  “The safeguards we have established in Florida to protect the voice
          of our voters and our democracy are the core of what we do,” said Leon
          County Supervisor of Elections and Florida Supervisor of Elections
          President Mark Earley. “The vulnerabilities detailed in the report are
          analogous to leaving your car unlocked with the keys on the front seat and
          then being surprised that someone might be able to steal it. That is not how
          we treat ballots or voting systems in Florida. We keep them securely stored,
          sealed, locked, and monitored at all times as part of our security procedures.
          We also test, retest, audit, and review our procedures after each election
          cycle to continually improve our practices to meet the latest evolving
          threats.”

   Florida Dep’t of State, Joint Statement from the Florida Secretary of State and Florida

   Supervisors of Elections in Response to the June 3, 2022 Cybersecurity and Infrastructure

   Security Agency Advisory (June 3, 2022), available at:

   https://dos.myflorida.com/communications/press-releases/2022/joint-statement-from-the-florida-

   secretary-of-state-and-florida-supervisors-of-elections-in-response-to-the-june-3-2022-

   cybersecurity-and-infrastructure-security-agency-advisory/ (emphasis added).




                                                    6
Case 4:22-mc-10086-KMM Document 1 Entered on FLSD Docket 10/03/2022 Page 12 of 23




           Yet, through their Subpoena, Defendants request the very information that would allow

   infiltration of the County’s voting system.4 Defendants seek a diagram of the system; the media

   access control (MAC) addresses showing how the components connect within the network;

   internet protocol (IP) addresses that identify devices on the network; and the credentials (user

   names and passwords) to permit access to all images and all documents produced in response to

   the Subpoena. Producing the bulk of the items demanded by the Subpoena would be an extreme

   and unprecedented security breach, would set a dangerous precedent for users of any voting

   system, and would have the potential to erode the public’s trust in security of the County’s

   voting system from that point forward. SOE objects to the Subpoena on the grounds that the

   disclosure of information contained in the documents demanded by the intrusive Subpoena

   would violate cybersecurity requirements in 6 U.S.C. §§ 1501-1510, as well as the State

   Cybersecurity Act, Section 212.318, Florida Statutes, and would compromise the cybersecurity

   of Monroe County’s voting system.

           The risk that images and documents regarding this critical infrastructure would be

   distributed to others with serious consequences, even with a protective order in place, is very

   real:

                   The risk of election officials undermining the security of election
           systems was on full display in August 2021, when the Mesa County,
           Colorado, election administrator Tina Peters spoke at a conference organized
           by MyPillow chief executive Mike Lindell that perpetuated false statements
           that the 2020 election was stolen. Although Peters denied releasing the source
           code used on Dominion Voting Systems (Dominion) voting machines, she
           admitted copying it, and the Lindell conference made the code publicly


   4
     See Exhibit A, Requests 1(a)-(h) (forensic images of all drives); 2(a) (forensic images of all
   slog.txt and .dvd files) (“slog” stands for “system log”); 3 (network diagram including IP
   addresses for every part of the system, media access control addresses, and credentials to access
   any encrypted documents); 5 (records concerning intrusion attempts); and 8 (contracts and
   agreements for network security, network monitoring, and cybersecurity).

                                                    7
Case 4:22-mc-10086-KMM Document 1 Entered on FLSD Docket 10/03/2022 Page 13 of 23




          available, raising serious questions about whether those machines would now
          be more vulnerable to hacking.

   Richard L. Hasen, Identifying and Minimizing the Risk of Election Subversion and Stolen

   Elections in the Contemporary United States, 135 Harv. L. Rev. F. 265, 280 (2022) (citations

   omitted). Her deputy clerk has since pled guilty to misdemeanors.5 Indeed, in a case currently

   pending in the Northern District of Georgia, Judge Amy Totenham declined even to release the

   report of an expert witness who had analyzed the Dominion voting system, on the grounds that

   its release would jeopardize election security. See Curling v. Raffensperger, 1:21-cv-2989-AT

   (Aug. 11, 2022) [ECF 1453 n.6] (“Releasing Dr. Halderman’s report, even with the Plaintiffs’

   proposed redactions, into the public domain just 89 days before the 2022 General Election could

   invite hacking and intrusion efforts, especially given the current heated climate surrounding

   voting issues as well as ever heightening concerns about international and domestic

   cybersecurity attacks.”).

          Defendants are requesting through this Subpoena what they would not be permitted to

   receive under Florida public records law. The Florida Legislature recognized that the

   cybersecurity of voting systems was crucial when it passed Ch. 2022-221, Laws of Florida,

   during the 2022 legislative session. As codified in Fla. Stat. § 119.0725, the law defines the term

   “critical infrastructure”,6 and then exempts the very same information now sought by Defendants

   from public records requests:

                2) The following information held by an agency is confidential and
          exempt from s. 119.07(1) and s. 24(a), Art. I of the State Constitution:
                        ***

   5
     https://www.theheraldreview.com/news/article/Colorado-clerk-pleads-not-guilty-in-election-
   17425990.php
   6
      “Critical infrastructure” is defined in Section 119.0725 to mean “existing and proposed
   information technology and operational technology system and assets, whether physical or
   virtual, the incapacity or destruction of which would negatively affect security, economic
   security, public health, or public safety.” Fla. Stat. § 119.0825(1)(b) (2022).
                                                    8
Case 4:22-mc-10086-KMM Document 1 Entered on FLSD Docket 10/03/2022 Page 14 of 23




                            (b) Information relating to critical infrastructure.
                            (c) Cybersecurity incident information reported pursuant to
                    s. 282.318 or s. 282.3185.
                            (d) Network schematics, hardware and software
                    configurations, or encryption information or information that
                    identifies detection, investigation, or response practices for suspected or
                    confirmed cybersecurity incidents, including suspected or confirmed
                    breaches, if the disclosure of such information would facilitate
                    unauthorized access to or unauthorized modification, disclosure, or
                    destruction of:
                                    1. Data or information, whether physical or virtual; or
                                    2. Information technology resources, which include an
                            agency’s existing or proposed information technology systems.

   Fla. Stat. § 119.0725 (emphases added). Copies of program codes, user and operator manuals,

   and copies of all software and any other information, specifications or documentations that a

   voting system company is required to submit to the Florida Secretary of State in order to gain

   approval of an electronic or electronomechanical voting system, see Fla. Stat. § 101.5607(1)(a),

   are therefore also exempt from public records requests under Florida law. Fla. Stat. §

   119.071(1)(f).

          Rule 45(d)(3)(A)(iii) states that a subpoena must be quashed if the subpoena calls for the

   production of not only privileged but also “other protected matter.” Fed. R. Civ. P.

   45(d)(3)(A)(iii). As the Eleventh Circuit has noted, “caselaw has not fleshed out the definition

   of the term ‘other protected matter,’ . . ..” Jordan v. Commissioner, Miss. Dep’t of Corrections,

   947 F.3d 1322, 1336 (11th Cir. 2020); see also Bhatt v. Lalit Patel Physician P.C., No. 18-cv-

   2063, 2020 WL 13048694, at *2 (E.D. N.Y. 2020) (“Tax returns constitute ‘other protected

   matter’ under Rule 45(d)(3)(A)(iii).”); and see Benedict v. McMahon, 325 F.R.D. 447, 452 (E.D.

   Pa. 2016) (expunged criminal records are protected matter within the meaning of Rule

   45(d)(3)(A)(iii)).




                                                      9
Case 4:22-mc-10086-KMM Document 1 Entered on FLSD Docket 10/03/2022 Page 15 of 23




          The Subpoena seeks forensic images, documents and information regarding Monroe

   County’s voting system, its critical infrastructure. The images, documents and information

   constitute “other protected matter” within the meaning of Rule 45(d)(3)(A)(iii). The Subpoena

   must therefore be quashed.



   II.    THE SUBPOENA SHOULD BE QUASHED BECAUSE IT CALLS FOR
          DISCOVERY OF CONFIDENTIAL AND PROPRIETARY INFORMATION,
          WHICH THE SUPERVISOR OF ELECTIONS IS OBLIGATED TO KEEP
          PRIVATE PER THE TERMS OF THE AGREEMENT BETWEEN MONROE
          COUNTY AND DOMINION.

          Rule 45(d)(3)(B) provides that a court “may, on motion, quash or modify the subpoena if

   it requires: (i) disclosing a trade secret or other confidential research, development, or

   commercial information; . . ..” Fed. R. Civ. P. 45(d)(3)(B)(i). “What constitutes a ‘trade secret’

   is a question of fact for the trial court.” Premier Election Solutions, Inc. v. Systest Labs, Inc.,

   No. 09-cv-01822-WDM-KMT, quoting Haggard v. Spine, 2009 WL 1655030, at *7 (D. Colo.

   2009). “When the party responding to the subpoena shows that the requested information is

   confidential and that its disclosure might be harmful, the party seeking discovery must show that

   the information is not only relevant, but also necessary to its case.” United Technologies Corp.

   v. Mazer, No. 05-80980-CIV, 2007 WL 788877, at *1 (S.D. Fla. Mar. 14, 2007). “[T]he status

   of a person as a non-party is a factor that weighs against disclosure.” Amer. Elec. Power Co.,

   Inc. v. U.S., 191 F.R.D. 132, 136 (S.D. Ohio 1999).

          Numerous cases have recognized that software, hardware, and other information

   associated with voting machines qualify as proprietary trade secrets. See Jennings v. Elections

   Canvassing Comm’n, 958 So. 2d 1083 (Fla. 1st DCA 2007) (affirming order denying disgruntled

   losing candidate’s motion to compel voting machine company Election Systems & Software to

   disclose “source code and other proprietary software associated with certain voting machines”);

                                                     10
Case 4:22-mc-10086-KMM Document 1 Entered on FLSD Docket 10/03/2022 Page 16 of 23




   Premier Election Solutions, Inc., 2009 WL 3075597, at 7 (quashing subpoena aimed at a non-

   party competitor company that performed voting machine testing, on the grounds that the “test

   cases” and “trusted builds” constituted highly confidential competitive trade secrets); Curling v.

   Raffensperger, 493 F. Supp. 1264, 1279 (N.D. Ga. 2020) (referring to “Dominion’s proprietary

   software”); see also id. at n. 80 (referring to the Dominion ImageCast Precinct Scanner and

   Tabulator, and saying, “It is a proprietary Dominion product”) (emphases added).

           Florida defines the term “trade secret” broadly. See Fla. Stat. § 812.081(1)(f) (defining

   “trade secret” to mean “the whole or any portion . . . of any . . . compilation of information

   which is for use, or is used, in the operation of a business and which provides the business an

   advantage, . . ..”

           Dominion’s trade secrets are spelled out in the Voting System Agreement between

   Monroe County and Dominion Voting Systems, Inc. for the purchase of the voting systems and

   software licenses. (Exhibit B.) Section 12 of the Agreement defines the term “Confidential

   Information” to mean (a) those materials that the disclosing Party (Dominion) maintains as trade

   secrets or confidential and which are disclosed to the receiving party (Monroe County) marked

   with the word “confidential” or a similar word, or (b) which are expressly identified in

   Subsection 12.1 of the Agreement as confidential. The Agreement states that source code and

   associated documentation are confidential. Exhibit B to the Agreement is a Software License

   Agreement. Within Exhibit B, Section 7 states that the Licensee (Monroe County)

   acknowledges that the Software and related documentation constitute confidential and

   proprietary trade secrets, disclosure of which would materially injure Dominion’s business and

   competitive position. The term “Software” is defined there to mean all software and firmware

   licensed by Dominion, in object code form, including all documentation. Section 7 further states



                                                   11
Case 4:22-mc-10086-KMM Document 1 Entered on FLSD Docket 10/03/2022 Page 17 of 23




   that disclosure will be limited to employees of the SOE having a need to know in order to

   perform their duties. Section 8 of the Software License Agreement goes on to state that the SOE

   will not, without written permission of Dominion, transfer or copy the Software onto any other

   storage device or hardware except for the purposes of system backup.

          Any part of the production sought by Defendants through Requests 1(a)-h) (forensic

   images of all drives and storage devices), 2(a)-(b) (forensic copies of all slog.txt files and dvd

   files and all “data items”), 3(a) and (c) (network diagram, network logs, PCAPs,7 netflow data

   and access control logs from networking devices), would require the SOE to “transfer or copy”

   the Software in violation of the Software License Agreement. Leaving aside all other concerns,

   the Agreement evidences the fact that Dominion has taken proper steps to safeguard its

   proprietary confidential information. The SOE, a non-party to this dispute, should not be placed

   in the position of being forced to breach its Agreement by disclosing the information.

          With regard to the Requests listed above, because the Subpoena requests confidential and

   proprietary trade secrets, the Subpoena should be quashed.

   III.   THE SUBPOENA MUST BE QUASHED BECAUSE IT IS UNDULY
          BURDENSOME, BOTH IN THE ABSOLUTE AND PARTICULARLY AS
          APPLIED TO A LOCAL JURISDICTION LESS THAN SEVEN WEEKS AWAY
          FROM A MIDTERM ELECTION.

          Rule 45(d)(3)(A) provides that the court must quash or modify a subpoena that subjects a

   person to undue burden. Fed. R. Civ. P. 45(d)(3)(A)(iv). The moving party has the burden of

   proof to demonstrate that “compliance with the subpoena would be ‘unreasonable and

   oppressive.’” See Wiwa v. Royal Dutch Petroleum Co., 392 F.3d 812, 818 (5th Cir. 2004)

   (citations omitted). However, it is the burden of the party seeking discovery to prove that its


   7
      A PCAP is an “application programming interface (API) for capturing network traffic. “Can
   intercept and log traffic that passes over a computer network or part of a network.”
   https://en.wikipedia.org/wiki/Pcap
                                                    12
Case 4:22-mc-10086-KMM Document 1 Entered on FLSD Docket 10/03/2022 Page 18 of 23




   requests are relevant. See Fadalla v. Life Automotive Prod., 258 F.R.D. 501 (M.D. Fla. 2007)

   (citing Am. Elec. Power Co., Inc. v. United States, 191 F.R.D. 132, 136 (S.D. Ohio 1999)).

          To determine whether a subpoena presents an undue burden, courts consider six factors:

   (1) relevance of the information requested; (2) need of the party for the documents; (3) breadth

   of the document request; (4) time period covered by the request; (5) particularity with which the

   party describes the requested documents; and (6) the burden imposed. See Wiwa, 392 F.3d at

   818, citing Williams v. City of Dallas, 178 F.R.D. 103, 109 (N.D. Tex. 1998). The status of the

   responding party as a non-party is a factor that weighs against disclosure. See Am. Electric

   Power, 191 F.R.D. at 133; Wiwa, 392 F.3d at 818 (“[I]f the person to whom the document

   request is made is a non-party, the court may also consider the expense and inconvenience to the

   non-party.”).

          Under any circumstance, this Subpoena is unduly burdensome. Nowhere does the

   Complaint mention Monroe County (or any local jurisdiction). Defendants so far have been

   unable to demonstrate any relevance of the documents. If Defendants have some information to

   show that the Monroe County voting system was somehow hacked or manipulated during the

   2020 election, they have no need for this discovery. Conversely, if they have no such

   information, this Subpoena is merely a fishing expedition.

          The documents cover an extensive time span. Four of the requests have an unlimited

   time span except “used in connection with” or “in relation to” the November 2020 election,

   (items 1(a)-(h), 2(b), 4(a)-(c)). Two of the requests (3(b) and 3(e)) seek documents over a 22-

   month time period (Jan. 1 2019 – Nov. 30, 2020). The remainder (2(a), 3(a), (c)-(d), and (5)-(8))

   have no time limitation at all.




                                                   13
Case 4:22-mc-10086-KMM Document 1 Entered on FLSD Docket 10/03/2022 Page 19 of 23




           The Subpoena calls for production of forensic images and documents that are well

   beyond the expertise of her staff to produce, which thus would require the Supervisor to hire

   computer experts to produce, including forensic images of all drives “in EnCase format”

   (Request 1); forensic copies of system log files (Request 2(a)); MAC addresses for all devices

   (Requests (3)(a)-(b)); and network logs, PCAPs, netflow data and access control logs from

   networking devices (Request 3(c)). (Aff. Griffin ¶¶ 7, 9.)

           The Subpoena is also burdensome in the breadth and volume of documents requested,

   including “all tabulator poll closing reports and tabulator reports generated by each precinct and

   polling location,8 detailing with date and time the number of in person voters, the same day voter

   registrations (if applicable), and the final totals of the precinct” (Request 4(a); and copies of “any

   document, report, or spreadsheet” that was produced in relation to the November 2020 election

   (Request 4(c)). The SOE has a staff of only 9 people split among three offices, each of which is

   nearly 50 miles apart from the next. Production of the forensic images and documents will take

   hundreds of hours and thousands of dollars. (Aff. Griffin ¶ 10.) Even if the documents were

   relevant, which has not been shown, the burden is overwhelming.

           The subpoena is particularly extraordinarily burdensome at this time. The midterm

   election will be held in just over six weeks, on November 8, 2022. The SOE is responsible under

   Florida law for ensuring that all of the requirements for elections in Florida law are properly

   carried out. Chapter 101, Florida Statutes, lays out the numerous steps that a Supervisor of

   Elections must supervise between now and the midterm elections, which include registration of

   voters (Fla. Stat. § 101.45); preparation of the ballots, testing of the ballots by Dominion, and

   approval of the ballots by the ballot board (Fla. Stat. § 101.5610); logic and accuracy testing to



   8
       Monroe County has 33 precincts.
                                                    14
Case 4:22-mc-10086-KMM Document 1 Entered on FLSD Docket 10/03/2022 Page 20 of 23




   ensure that the ballots are reading correctly (Fla. Stat. § 101.5612); followed by the election.9

   All of the deadlines are strictly prescribed by statute. There is not sufficient time between now

   and the election to create the forensic images or produce the documents requested through the

   subpoena. (Aff. Griffin ¶ 10.) Diverting resources and time towards creating and producing

   these images would impose a significant burden on both the County and the public and could

   jeopardize the safe and orderly administration of the election.

          There is another burden. All voting systems must be submitted to the Department of

   State, Division of Elections for approval. Fla. Stat. § 101.5605. Disclosure of either the local

   voting system information (including the system diagram, MAC addresses, slog.txt files and

   PCAPs) or any of Dominion’s confidential information (including software, firmware, and

   source codes) raises the risk of intrusion by a third party, making it likely that the voting systems

   will need to be changed. (Aff. Griffin ¶ 8.) All changes to a voting system must be approved by

   the Department of State prior to use by a County. Fla. Stat. § 101.5605(3)(e). There is no time

   for the changes before the midterm elections.



   IV.    IN THE ALTERNATIVE, A PROTECTIVE ORDER SHOULD BE ISSUED TO
          ALLOW FOR PRODUCTION OF REPORTS SOUGHT IN REQUESTS 4(A)-(B),
          7 AND 8, AFTER THE ELECTION.

          As explained above, there is no protective order that is likely to protect against the

   disclosure of information that would compromise cybersecurity, or as to confidential trade



   9
      Additionally, vote-by-mail ballots to overseas voters must be sent by September 24, 2022;
   ballots to domestic voters are sent September 29-October 6, 2022; and early voting is held
   October 29-November 5, 2022 with optional days on October 24-28 and November 6, 2022.
   These actions stretch the election into a multi-week event. See Florida Division of Elections,
   Election Dates and Activities Calendar 2022-2023, available at:
   https://dos.myflorida.com/elections/for-voters/election-dates/ and
   https://dos.myflorida.com/elections/forms-publications/publications/.
                                                    15
Case 4:22-mc-10086-KMM Document 1 Entered on FLSD Docket 10/03/2022 Page 21 of 23




   secrets. However, as to the reports sought in Requests 4(a) and (b), and the agreement sought

   between Monroe County and Dominion in Requests 7 and 8, SOE can produce the documents,

   provided the production does not take place until after the election, and provided the SOE is

   compensated for the extra expense of the production.

                                           CONCLUSION

          Defendants’ demand for a blueprint to the inner workings of the County’s voting system

   is extraordinary, unnecessary, and unprecedented. Production of the majority of information

   demanded by the Subpoena would constitute an extreme cybersecurity breach and would be

   contrary to federal and state laws keeping the information private. The Subpoena would require

   the SOE to produce trade secrets, in breach of her agreement with Dominion. Finally, the

   Subpoena is unduly burdensome, because it is far beyond the resources of the SOE to provide the

   documents and information requested, particularly on the eve of a midterm election, and there

   has been no adequate showing of relevance. For all of the above reasons, Non-Party SOE

   respectfully requests that this Court quash the subpoena.




                                                   16
Case 4:22-mc-10086-KMM Document 1 Entered on FLSD Docket 10/03/2022 Page 22 of 23




         CERTIFICATE OF GOOD FAITH COMPLIANCE WITH LOCAL RULE 7.1


          In compliance with Local Rule 7.1, I hereby certify that counsel for the movant has

   conferred with all parties or non-parties who may be affected by the relief sought in this Motion

   in a good faith effort to resolve the issues but has been unable to resolve the issues.



                                                By: ______________________________________


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                                                    17
Case 4:22-mc-10086-KMM Document 1 Entered on FLSD Docket 10/03/2022 Page 23 of 23




                                     CERTIFICATE OF SERVICE

   I HEREBY CERTIFY that on September 30, 2022, the foregoing document entitled Motion to
   Quash Rule 45 Subpoena and Incorporated Memorandum of Law was served using the following
   methods on the below interested parties:

    Via e-mail:
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                                              _________/s/_____________________
                                              By: Cynthia L. Hall




                                               18
